         CASE 0:20-cv-01499-JRT-LIB Doc. 275 Filed 04/30/24 Page 1 of 3


                            UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
 _______________________________________________________________________

 DAVID A. MCDOUGALL,                                   Civil No. 20-1499 (JRT/LIB)

                                  Plaintiff,
                                                      THE COURT’S ADDITIONAL
 v.                                                        INSTRUCTIONS
                                                            TO THE JURY
 CRC INDUSTRIES, INC.,

                         Defendant.
 _______________________________________________________________________

       The Court will now provide an additional instruction on punitive damages.


                                    PUNITIVE DAMAGES

       Definition of “Punitive Damages”

       If you find there is clear and convincing evidence that CRC acted with deliberate

disregard for the rights or safety of others, you can award plaintiff additional damages.

These “punitive damages” would be intended to punish CRC and discourage others from

behaving in a similar way. Punitive damages may not be used to punish the defendant

for injury or harm to persons other than the plaintiff in this case, however.

       Clear and Convincing Evidence

       The evidence must convince you that CRC acted with deliberate disregard for the

rights or safety of others. You must have a firm belief, or be convinced there is a high

probability, that CRC acted this way.
         CASE 0:20-cv-01499-JRT-LIB Doc. 275 Filed 04/30/24 Page 2 of 3


       Deliberate Disregard

       “Deliberate disregard” means that CRC:

       1. Knew about facts or intentionally ignored facts that created a high probability

          of injury to the rights or safety of others, and

       2. Deliberately acted

              a. with conscious or intentional disregard, or

              b. with indifference to the high probability of injury to the rights or safety

                  of others.

       Factors to Consider for Punitive Damages

       If you decide to award punitive damages, consider, among other things, the

following factors:

   1. The seriousness of the hazard to the public that may have been or was caused by

       CRC’s misconduct. You may not consider any harm to persons who are not

       parties to this case.

   2. The profit CRC made as a result of the misconduct.

   3. The length of time of the misconduct and if CRC hid it.

   4. The amount CRC knew about the hazard and of its danger.

   5. The attitude and conduct of CRC when the misconduct was discovered.

   6. The number and level of employees involved in causing or hiding the misconduct.

   7. The financial state of CRC.




                                             -2-
     CASE 0:20-cv-01499-JRT-LIB Doc. 275 Filed 04/30/24 Page 3 of 3


8. The total effect of other punishment likely to be imposed on CRC as a result of

   the misconduct. This includes compensatory and punitive damage awards to

   claimants.




                                      -3-
